O AO 247 (N C/W 11/11) O rder Regarding M otion for Sentence R eduction



                                       U NITED STATES D ISTRICT C OURT
                                                                          for the
                                                        Western District of North Carolina

                     United States of America                               )
                                v.                                          )
                   TANRE STEPHON TAYLOR                                       Case No:     3:05CR104-6
                                                                            )
                         a/k/a "Tann"                                         USM No:      20307-058
                                                                            )
Date of Original Judgment:     April 24, 2007
                                                                            )
Date of Last Amended Judgment: June 9, 2009                                   Ross Richardson
                                                                            )
                                                                                Defendant’s Attorney

                     Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of  the defendant  the Director of the Bureau of Prisons  the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
        DENIED .    GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of        is reduced to

I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Original Offense Level:    35                Amended Offense Level:     34
Criminal History Category: VI                Criminal History Category: VI
Original Guideline Range:  292 to 365 months Amended Guideline Range: 262 to 327 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
 The reduced sentence is within the amended guideline range.
 The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing and the reduced sentence is comparably less than the amended guideline range.
 The reduced sentence is above the amended guideline range.
 Other (explain):  Due to the defendant's classification as a Career Offender, there is no change in the guideline
                    calculations and Amendment 750 is not applicable in this case. Additionally, the application of
                    Amendment 750 provides no change in the guideline calculations in this case.



III. ADDITIONAL COMMENTS




Except as provided above, all provisions of the judgment dated                      April 24, 2007,      shall remain in effect.
IT IS SO ORDERED .

Order Date:          April 30, 2012


Effective Date:
                       (if different from order date)




               Case 3:05-cr-00104-FDW-SCR                            Document 735            Filed 04/30/12    Page 1 of 1
